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                         Nos. 21-4072 and 22-3351
      (Consolidated with Nos. 23-3196, 23-3324, 23-3366, and 23-3417)
__________________________________________________________________

           IN THE UNITED STATES COURT OF APPEALS
                     FOR THE SIXTH CIRCUIT
__________________________________________________________________

    DAYTON POWER & LIGHT COMPANY, d/b/a AES OHIO;
   AMERICAN ELECTRIC POWER SERVICE CORPORATION;
 DUKE ENERGY OHIO, INC.; FIRSTENERGY SERVICE COMPANY,
                        Petitioners,
                             v.
         FEDERAL ENERGY REGULATORY COMMISSION,
                            Respondent.
__________________________________________________________________

               On Petitions for Reviews of Orders of the
                Federal Energy Regulatory Commission
__________________________________________________________________

                 BRIEF OF INTERVENOR
  PJM INTERCONNECTION, L.L.C. IN SUPPORT OF PETITIONERS

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     & remanded in part sub nom. Transmission Access Policy
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                STATEMENT REGARDING ORAL ARGUMENT

      PJM Interconnection, L.L.C. concurs with the “Statement Regarding Oral

Argument” set forth in the Brief of Petitioners Dayton Power & Light Co.,

American Electric Power Service Corp., and FirstEnergy Service Co., Dayton

Power & Light Co. v. FERC, Nos. 21-4072, et al., at xv (6th Cir. Aug. 10, 2023)

(corrected).    These consolidated cases present questions of first impression

regarding interpretation of section 219 of the Federal Power Act, 16 U.S.C. § 824s,

and whether the Federal Energy Regulatory Commission acted in an arbitrary and

capricious manner in disregarding substantial evidence. Oral argument will aid the

Court in considering these important issues.




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                        STATEMENT OF ADDENDUM

      Pertinent statues are provided in the addendum to this brief.

                      STATEMENT OF JURISDICTION

      PJM Interconnection, L.L.C. (“PJM”) adopts the Jurisdiction statement set

forth in the Brief of Petitioners Dayton Power & Light Co., American Electric

Power Service Corp., and FirstEnergy Service Co., Dayton Power & Light Co. v.

FERC, Nos. 21-4072, et al., at 6-8 (6th Cir. Aug. 10, 2023) (corrected)

(“Transmission Owner Brief”).1

                        STATEMENT OF THE ISSUES

      PJM addresses herein and adopts by reference issue number 1 in the Issues

Presented statement set forth in the Transmission Owner Brief, id. at 8-9, and takes

no position on issues numbered 2, 3, and 4.2



1
      Dayton Power and Light Co. (“Dayton”), American Electric Power Service
      Corp. (with its subject public utility affiliates Ohio Power Co. and AEP Ohio
      Transmission Co., Inc. (collectively “AEP Entities”), and FirstEnergy
      Service Co. are referred to collectively herein as “Transmission Owner
      Petitioners” to distinguish them from Petitioner Office of Ohio Consumers
      Counsel.
2
      PJM supports certain of the arguments made in the Transmission Owner
      Brief, and takes no position on others. PJM does not support arguments
      submitted in the Opening Brief of Petitioner Office of Ohio Consumers
      Counsel in Nos. 23-3324 and 23-3417, Am. Elec. Power Serv. Corp. v.
      FERC, Nos. 23-3324 et al. (6th Cir. July 31, 2023), and reserves its right to
      file a responsive brief as intervenor in support of the Federal Energy
      Regulatory Commission (“FERC” or “Commission”).
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                         STATEMENT OF THE CASE

      PJM generally adopts the Statement of the Case set forth in the Transmission

Owner Brief, at 9-25, with the following supplementation.

I.    UTILITY INDUSTRY EVOLUTION AND CREATION                                    OF
      REGIONAL TRANSMISSION ORGANIZATIONS

      Under the Federal Power Act (“FPA”), 16 U.S.C. §§ 791 et seq., FERC is

authorized to regulate the rates, terms, and conditions for transmission of electric

energy in interstate commerce and the sale of electric energy at wholesale in

interstate commerce. 16 U.S.C. § 824; see Hughes v. Talen Energy Mktg., LLC,

578 U.S. 150, 154 (2016) (“Hughes”); FERC v. Elec. Power Supply Ass’n, 577

U.S. 260, 264 (2016) (“EPSA”). In light of economic and technical changes since

the FPA’s original enactment in 1935 and efforts by FERC and its predecessor

agency, the electric industry has increasingly become a competitive business, with

local, vertically integrated utilities providing “bundled” wholesale and retail

generation, transmission, and distribution of electricity giving way to more

competitive markets. See Pub. Util. Dist. No. 1 v. FERC, 272 F.3d 607, 610 (D.C.

Cir. 2001).

      FERC adopted its landmark “Order No. 888” in 1996, which ordered all

public utility transmission providers to file and offer transmission service under an

“open access transmission tariff,” and introduced the concept of “Independent

System Operators” (“ISO”), entities that are tasked with operating the transmission


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systems of their members independently, and that fulfill eleven “ISO Principles”

including, among others, providing open access transmission at “non-pancaked

rates”—i.e., a single access charge to transmit power over any of the facilities

under the ISO’s control. Promoting Wholesale Competition Through Open Access

Non-Discriminatory Transmission Services by Public Utilities; Recovery of

Stranded Costs by Public Utilities and Transmitting Utilities, Order No. 888, 75

FERC ¶ 61,080, 1991–1996 FERC Stats. & Regs., Regs. Preambles ¶ 31,036, at

31,636, 31,730-31 (1996), order on reh’g, Order No. 888-A, 78 FERC ¶ 61,220,

1996–2000 FERC Stats. & Regs., Regs. Preambles ¶ 31,048, order on reh’g, Order

No. 888-B, 81 FERC ¶ 61,248 (1997), reh’g denied, Order No. 888-C, 82 FERC

¶ 61,046 (1998), aff’d in part & remanded in part sub nom. Transmission Access

Policy Study Group v. FERC, 225 F.3d 667 (D.C. Cir. 2000), aff’d sub nom. New

York v. FERC, 535 U.S. 1 (2002).

      Finding remaining barriers to competitive wholesale markets after

implementation of Order No. 888, FERC acted again in 1999 to issue a new rule,

Order No. 2000, which created the concept of Regional Transmission

Organizations (“RTO”). Regional Transmission Organizations, Order No. 2000,

89 FERC ¶ 61,285, 1996–2000 FERC Stats. & Regs., Regs. Preambles ¶ 31,089

(1999), order on reh’g, Order No. 2000-A, 90 FERC ¶ 61,201, 1996–2000 FERC

Stats. & Regs., Regs. Preambles ¶ 31,092 (2000), petitions for review dismissed


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sub nom. Pub. Util. Dist. No. 1 v. FERC, 272 F.3d 607 (D.C. Cir. 2001). FERC

found that the creation of RTOs would remedy certain impediments to further

development of competitive markets because RTOs could: (1) improve efficiencies

in transmission grid management; (2) improve grid reliability; (3) remove

remaining opportunities for discriminatory practices; (4) improve market

performance; and (5) facilitate lighter handed regulation. Id. at 30,993; Pub. Util.

Dist., 272 F.3d at 611; see also Hughes, 578 U.S. at 155 (explaining the concept of

RTOs and noting that they operate the transmission grid and independently

administer wholesale energy markets); EPSA, 577 U.S. at 267-68 (explaining that

each RTO “administers a portion of the grid, providing generators with access to

transmission lines and ensuring that the network conducts electricity reliably”).

Important for present purposes, FERC encouraged, but did not mandate, that

transmission owners join RTOs and cede to RTOs functional control over their

transmission assets (including planning for expansion of the transmission grid).

Order No. 2000 at 30,992-95 (explaining FERC’s voluntary approach to RTO

creation); Morgan Stanley Cap. Grp. v. Pub. Util. Dist. No. 1, 554 U.S. 527,

536-37 (2008) (“To further pry open the wholesale-electricity market and to reduce

technical inefficiencies caused when different utilities operate different portions of

the grid independently, the Commission has encouraged transmission providers to

establish [RTOs, which are] entities to which transmission providers would


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transfer operational control of their facilities for the purpose of efficient

coordination.”). FERC further explained that RTOs would “benefit consumers

through lower electricity rates resulting from a wider choice of services and service

providers” and that “substantial cost savings are likely to result from the formation

of RTOs.” Order No. 2000 at 30,993 (emphasis added).

      Order No. 2000 “conclude[d] that properly structured RTOs throughout the

United States can provide significant benefit,” including:

             increased efficiency through regional transmission pricing and
             the elimination of rate pancaking; improved congestion
             management; more accurate estimates of [Available
             Transmission Capacity]; more effective management of parallel
             path flows; more efficient planning for transmission and
             generation investments; increased coordination among state
             regulatory agencies; reduced transaction costs; facilitation of
             the success of state retail access programs; facilitation of the
             development of environmentally preferred generation in states
             with retail access programs; improved grid reliability; and
             fewer opportunities for discriminatory transmission practices.

Id. at 31,024; see also id. (explaining that the list of benefits was not exhaustive).

FERC explained that “[a]ll of these improvements to the efficiencies in the

transmission grid will help improve power market performance, which will

ultimately result in lower prices to the Nation’s electricity consumers.” Id. at

31,024 (emphasis added). FERC further opined that “by improving efficiencies in

the management of the grid, improving grid reliability, and removing any

remaining opportunities for discriminatory transmission practices, the widespread



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development of RTOs will improve the performance of electricity markets in

several ways and consequently lower prices to the Nation’s electricity consumers.”

Id. at 31,025 (emphasis added); see Me. Pub. Utils. Comm’n v. FERC, 454 F.3d

278, 280-81 (D.C. Cir. 2006) (“By combining various utilities’ segmented

transmission facilities into a regional transmission grid under the control of one

independent entity, FERC anticipated that RTOs would eliminate certain

transmission inefficiencies and opportunities for discrimination . . . and that these

new structures would therefore result in significant benefits to the public.”). At the

time, FERC estimated up to $5.1 billion in annual savings nationwide from broad

implementation of RTOs. Order No. 2000 at 31,026.

II.   PJM

      PJM was approved by FERC first as an ISO, see Pennsylvania-New Jersey-

Maryland Interconnection, 81 FERC ¶ 61,257 (1997), reh’g denied, 92 FERC

¶ 61,282 (2000), modified sub nom. Atl. City Elec. Co. v. FERC, 295 F.3d 1 (D.C.

Cir. 2002), and later as an RTO, PJM Interconnection, L.L.C., 101 FERC ¶ 61,345

(2002).    Today, PJM administers complex markets and manages a vast

transmission system spanning thirteen states and the District of Columbia. PJM

operates one of the largest centrally dispatched competitive electricity market in

the world. PPL EnergyPlus, LLC v. Solomon, 766 F.3d 241, 247 (3d Cir. 2014).




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       At the time of record development in these proceedings, PJM explained that

its markets and services provide total annual estimated customer benefits of

between $3.2 and $4 billion “driven in no small part because of the stability of

PJM’s membership and the corresponding geographic footprint PJM services,”

including: (1) $300 million in annual reliability savings; (2) $1.2 to $1.8 billion in

annual savings related to lower reserve margins and competition from alternative

resources; (3) $1.1 to $1.3 billion in annual savings from integrating more efficient

resources; and (4) $600 million in annual energy production cost savings because

of PJM’s expanded generation dispatch footprint.               Comments of PJM

Interconnection, L.L.C., Docket No. EL22-34-000, at 3-4 (Mar. 31, 2022) (JA___-

JA___) (“PJM Complaint Comments”); Motion to Lodge of PJM Interconnection,

L.L.C., Docket Nos. ER20-1068-000 & ER20-2100-000, Exhibit 1 (“PJM 2020

RM20-10 Comments”) at 8 (Oct. 19, 2020) (JA___).

III.   ENERGY POLICY ACT OF 2005

       On August 8, 2005, Congress enacted the Energy Policy Act of 2005

(“EPAct 2005”). Energy Policy Act of 2005, Pub. L. No. 109-58, 119 Stat. 594

(2005). Section 1241 of EPAct 2005 established section 219 of the FPA, which

mandated that, within a year of enactment, “the Commission shall establish, by

rule, incentive-based (including performance-based) rate treatments for the

transmission of electric energy in interstate commerce by public utilities for the



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purpose of benefitting consumers by ensuring reliability and reducing the cost of

delivered power by reducing transmission congestion.” 16 U.S.C. § 824s(a). As

part of the required rule, “the Commission shall, to the extent within its

jurisdiction, provide for incentives to each transmitting utility or electric utility that

joins a Transmission Organization.” Id. § 824s(c). Subsection (c) also required

FERC to “ensure that any costs recoverable pursuant to this subsection may be

recovered by such utility through the transmission rates charged by such utility or

through the transmission rates charged by the Transmission Organization that

provides transmission service to such utility.” Id.

      Congress’s adoption of the FPA section 219 language mandating an

incentive for joining an RTO was intentional. Indeed, the resulting language

reflected a compromise between parties who called for mandating RTO

participation and parties who wanted to renounce any reference to RTO

participation in the EPAct 2005. See Comments of PJM Interconnection, L.L.C.,

Docket No. RM20-10-000, at 22-25 (June 25, 2021) (“PJM 2021 RM20-10

Comments”) (addressing the statutory history and contemporaneous regulatory

events) (incorporated by reference in the PJM Complaint Comments at 1 n.3

(JA___)). In enacting the requirement that FERC shall provide the incentive, the

statute went beyond a previous legislative proposal that would have adopted a

“sense of Congress” policy statement encouraging RTO participation. See PJM


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2020 RM20-10 Comments at 4 n.6 (JA___) (citing Energy Policy Act of 2005, S.

10, 109th Cong. § 1232 (2005) (reflecting draft legislative language providing that

FERC “may encourage and may approve the voluntary formation of RTOs,” but

that would have explicitly prohibited any requirement to transfer operational

control to the transmission organization)).

IV.   ORDER NO. 679 AND THE RTO PARTICIPATION INCENTIVE

      In response to the clear Congressional directive to “provide for incentives to

each transmitting utility or electric utility that joins a Transmission Organization,”

16 U.S.C. § 824s(c), FERC issued Order No. 679 in 2006.                    Promoting

Transmission Investment Through Pricing Reform, Order No. 679, 116 FERC

¶ 61,057, order on reh’g, Order No. 679-A, 117 FERC ¶ 61,345 (2006), order on

reh’g, Order No. 679-B, 119 FERC ¶ 61,062 (2007). Order No. 679 was issued

“[p]ursuant to the directives in section 1241 of the Energy Policy Act of 2005” that

FERC provide incentives “that will help ensure the reliability of the bulk power

transmission system in the United States and reduce the cost of delivered power to

customers by reducing transmission congestion.”          Id. at P 1.     FERC noted

Congress’s “clear directive that ‘the Commission shall establish by rule, incentive-

based . . . rate treatments . . . for the purpose of benefiting consumers.’” Id. at P 5

(emphasis in original).




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      Regarding FPA section 219(c), FERC explained Congress’s dual mandate to

provide incentives “to each transmitting utility or electric utility that joins a

Transmission Organization” and to ensure recovery of the incentive’s cost through

RTO rates. Id. at P 8 (emphasis added). FERC explained that “Congress did not

enact section 219 in isolation,” but instead that it was “part of a larger statutory

framework in which Congress directed the Commission to take steps to address

reliability [and] remedy the adverse effects of transmission congestion.” Id. at

P 41 (also noting that section 219 is “complementary” of other EPAct 2005

provisions). FERC also rejected requests for prior state approval of FPA section

219 incentives, noting that state approval “is not required by section 219.” Id. at

P 54. FERC adopted a policy to consider requests for a return on equity (“ROE”)-

based incentive for transmission organization participation,3 “in recognition of the

benefits [that transmission owner memberships in] such organizations bring to

customers, as outlined in detail in Order No. 2000.” Id. at P 312; see also id. at

P 331 (“Our interpretation of the statute is that eligibility for this incentive flows to

an entity that ‘joins’ a Transmission Organization.”). FERC also stressed the

3
      FERC explained, and there is no dispute, that RTOs like PJM qualify as
      “Transmission Organizations” under the statute. Order No. 679 at P 4 n.4
      (explaining that Transmission Organizations are defined to include, among
      other entities, RTOs). For convenience, this brief refers to the incentive
      required by EPAct 2005 and Order No. 679 as the “RTO participation
      incentive,” even though FERC has defined other entities that would also
      qualify as Transmission Organizations.


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importance of continued, stable RTO membership. Id. at P 327 (explaining that

eligibility for the incentive will be based on a showing that a transmission owner

has joined an RTO and that its membership is ongoing).

      On rehearing and clarification of Order No. 679, FERC explained in Order

No. 679-A that “[t]he consumer benefits, including reliability and cost benefits,

provided by Transmission Organizations are well documented, and the best way to

ensure those benefits are spread to as many consumers as possible is to provide an

incentive that is widely available to member utilities of Transmission

Organizations.” Order No. 679-A at P 86 (emphasis added) (citing Order No. 2000

at 31,024).     According to Order No. 679-A, the incentive for transmission

organization membership is “entirely consistent” with the purpose of FPA section

219 to establish incentives “that benefit consumers by ensuring reliability and

reducing the cost of delivered power.” Id. FERC also observed that “a more

accurate interpretation of section 219(c) must recognize that an important

component of section 219(c) is ensuring cost recovery, and therefore this section

differs from the rest of section 219 that only address incentive-based rate

treatments.” Id. at P 87 n.143.

V.    ORDERS UNDER REVIEW

      These consolidated cases concern FERC’s findings in the following series of

orders that PJM members Dayton and the AEP Entities should be stripped of any



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eligibility to receive the RTO participation incentive because their membership in a

transmission organization is mandated by Ohio state law: (1) Dayton Power &

Light Co., 176 FERC ¶ 61,025 (2021) (JA____-JA____) (“Dayton”), order

addressing arguments raised on reh’g, 178 FERC ¶ 61,102 (2022) (JA____-

JA____) (“Dayton Rehearing”); (2) Office of the Ohio Consumers’ Counsel v. Am.

Elec. Power. Serv. Corp., 181 FERC ¶ 61,214 (2022) (JA____-JA____) (“AEP”),

order addressing arguments raised on reh’g, 183 FERC ¶ 61,034 (2023) (JA____-

JA____) (“AEP Rehearing”).

                         SUMMARY OF ARGUMENT

      This case centers on the plain meaning of section 219(c) of the FPA and

FERC’s one-hundred-eighty degree reversal of its prior interpretation and

implementation of that statute. As such, this case is one in which the Court plays

an important role in enforcing the statute using the words adopted by Congress

rather than an agency interpretation not supported by the legislative text or its

history. In revoking the AEP Entities’ RTO participation incentive and refusing to

grant the incentive to Dayton, FERC acted in violation of the clear statutory

demand that it provide incentives for each utility that joins an RTO. The text of

the statute is unambiguous, and FERC cannot interpret its way around a clear

Congressional mandate. Under longstanding precedent, FERC’s interpretation of a

statute is irrelevant when the meaning of the statute is clear on its face, and this



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Court reviews such FERC interpretations of law de novo.            Neither the plain

language of the statute, nor FERC’s regulations implementing it, nor judicial

precedent interpreting those regulations, authorize FERC to deny Dayton’s and the

AEP Entities’ eligibility for the RTO participation incentive on the basis of state

law.

       In this case, not only is the statutory text clear based on the choice of words

Congress utilized, but the Court is faced with a complete reversal by FERC of its

incentive policy based on its new interpretation of that statute. FERC’s apparent

reversal of decades of policy is arbitrary and capricious. Moreover, FERC acted

arbitrarily and capriciously, and contrary to the record, in finding that Dayton

should not be granted and the AEP Entities’ should be stripped of the incentive.

FERC ignored arguments and evidence that the Congressionally mandated RTO

participation incentive was designed to restore symmetry and promote balance

between the burdens and costs of RTO participation—which are faced by

transmission owners who join RTOs—and the benefits of RTOs—which accrue

primarily to energy consumers.

                                   ARGUMENT

I.     STANDARD OF REVIEW

       The Administrative Procedure Act requires a reviewing court to “hold

unlawful and set aside agency action, findings, and conclusions found to be . . . in



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excess of statutory jurisdiction, authority, or limitations, or short of statutory

right.” 5 U.S.C. §706(2)(C). When confronted with an agency’s interpretation of

its authorizing statute, courts employ the familiar two-step test articulated in

Chevron U.S.A. Inc. v. Natural Resources Defense Council, 467 U.S. 837, 842-43

(1984) (“Chevron”). Under the Chevron analysis, “[f]irst, always, is the question

whether Congress has directly spoken to the precise question at issue. If the intent

of Congress is clear, that is the end of the matter; for the court, as well as the

agency, must give effect to the unambiguously expressed intent of Congress.” Id.

Only once a court determines that a statute is ambiguous does the court review the

agency’s interpretation, which it will uphold if it is “based on a permissible

construction of the statute.” Chevron, 467 U.S. at 843.

      As this Court has explained, “[w]e review the Commission’s interpretation

of [statute] de novo. When interpreting a statute, our task is to give effect to

Congressional intent. If the meaning of the language of the statute is clear, we

apply the statute as written.” KenAmerican Res., Inc. v. United States Sec’y of

Labor, 33 F4th 884, 888 (6th Cir. 2022) (citing Chevron and other cases). In other

words, while it “generally review[s] the Commission’s orders under the arbitrary-

and-capricious standard, [the Court] give[s] fresh review to questions of law.”

MISO Transmission Owners v. FERC, 860 F.3d 837, 841 (6th Cir. 2017) (also

noting that this Court provides less deference to FERC than other circuits); see also


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Louisville Gas & Elec. Co. v. FERC, 988 F.3d 841, 846 (6th Cir. 2021) (stating

that questions of law are reviewed de novo).

      In addition to complying with applicable statutes, a Commission decision

must also be founded on reasoned decisionmaking, and cannot be arbitrary,

capricious, an abuse of discretion, or otherwise not in accordance with law.

Administrative Procedure Act, 5 U.S.C. § 706(2)(A); see Motor Vehicle Mfrs.

Ass’n v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 41 (1983) (“Motor Vehicle”);

Ky. Utils. Co. v. FERC, 766 F.2d 239, 242 (6th Cir. 1985). Under this standard of

review, an agency rule is arbitrary and capricious if the agency has relied on

factors which Congress has not intended it to consider, entirely failed to consider

an important aspect of the problem, offered an explanation for its decision that runs

counter to the evidence before the agency, or is implausible. Motor Vehicle, 463

U.S. at 43. The agency is obligated to examine the relevant facts and to articulate a

satisfactory explanation for its action, including a rational connection between the

facts it finds and the decisions it makes. Ohio Power Co. v. FERC, 668 F.2d 880,

885-86 (6th Cir. 1982); see also Ky. Utils. Co., 766 F.2d at 242 (acknowledging

the deferential nature of review but explaining that “‘[d]eference’ is not, however,

tantamount to mechanical acceptance by the reviewing forum”).

      Agencies must also adhere to their precedents, and must explain and justify

any departures from precedent. Pendley v. Fed. Mine Safety & Health Review


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Comm’n, 601 F.3d 417, 426 (6th Cir. 2010) (remanding a case to an agency “to

reexamine its decision in light of its own precedent” (citing Michigan v. Thomas,

805 F.2d 176, 184 (6th Cir. 1986) (noting that agencies must provide an “explicit[]

and rational[]” justification for departing from their precedents); Hays v. Fed. Mine

Safety & Health Review Comm’n, 965 F.2d 1081, 1085 (D.C. Cir. 1992) (“It is

especially important in cases where the agency has taken a sharp turn from prior

holdings that its actions be supported by reasoned decisionmaking.” (citation

omitted)))).

II.   FERC’S ORDERS CONFLICT                    WITH      THE     UNAMBIGIOUS
      STATUTORY COMMAND

      In the orders under review, FERC refused Dayton’s request to implement a

fifty-basis-point ROE adder for participation in PJM and removed a similar adder

from the AEP Entities’ rates on the flawed premise that such an adder was

inappropriate because the companies’ participation in PJM was involuntary—i.e.,

mandated by Ohio state law. Regardless of the status of the Ohio law, FERC’s

findings unlawfully conflict with the FPA section 219 and rely on a faulty reading

of precedent. The Court should grant the Transmission Owner Petitioners’ appeals

and vacate the underlying orders.




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      A.     FERC’s Orders Contravene the Plain Language of FPA
             Section 219

      In Dayton, FERC found that “Dayton does not qualify” for an RTO

participation incentive “because: (1) Order No. 679 as interpreted in [California

Public Utilities Commission v. FERC, 879 F.3d 966 (9th Cir. 2018) (“CPUC”)]

requires a showing of voluntary membership in such a Transmission Organization;

and (2) Dayton’s membership . . . is not voluntary because the Ohio statute

requires it.” Dayton at P 14 (JA____) (emphasis in original). Regardless of what

Order No. 679 or the United States Court of Appeals for the Ninth Circuit (“Ninth

Circuit”) said about Order No. 679 in CPUC, denying Dayton the requested RTO

participation incentive conflicts with the plain language of FPA section 219 and

therefore is unlawful. FERC’s reliance on Dayton in its AEP order, see AEP at

P 63 (JA____), infects that order with the same unlawfulness.

      FPA section 219 is unambiguous: “[T]he Commission shall, to the extent

within its jurisdiction, provide for incentives to each transmission utility or electric

utility that joins a Transmission Organization.” 16 U.S.C. § 824s(c) (emphasis

added).    Because the statute is clear on its face, the Court’s inquiry ends at

Chevron step 1, and the Court must reject FERC’s alternative interpretation that

conflicts with the plain wording of the statute.         Chevron, 467 U.S. 842-43;

KenAmerican Res., Inc., 33 F4th at 888.




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      The statute mandates that FERC shall provide the RTO participation

incentive and that it shall be available to each utility that joins an RTO.

Congress’s choice of words was deliberate and unequivocal. Nowhere does the

statute state that the incentive is only available when a state statute also does not

purport to require RTO membership, nor does the word “incentive” itself dictate

any voluntariness requirement. Absent any language to the contrary, courts are

required to “presume Congress says what it means and means what it says.”

Simmons v. Himmelreich, 578 U.S. 621, 627 (2016); Emera Maine v. FERC, 854

F.3d 9, 24 (D.C. Cir. 2017); see also Conn. Nat’l Bank v. Germain, 503 U.S. 249,

253-54 (1992) (explaining that the “cardinal canon” of statutory interpretation is to

“presume that a legislature says in a statute what it means and means in a statute

what it says there”); Consumer Prod. Safety Comm’n v. GTE Sylvania, Inc., 447

U.S. 102, 108 (1980) (explaining that “the starting point for interpreting a statute is

the language of the statute itself” and “[a]bsent a clearly expressed legislative

intention to the contrary, that language must ordinarily be regarded as

conclusive”).

      As important as what the statute says is what it does not say. The statute

orders FERC to provide incentives “for the purpose of benefitting consumers by

ensuring reliability and reducing the cost of delivered power by reducing

transmission congestion.” 16 U.S.C. § 824s(a). At the time Congress passed this


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pronouncement, FERC had already established RTOs and had explained their

intended benefits in Order No. 2000. Congress was well aware of the existence of

RTOs and the benefits FERC found (including the reliability and cost savings

benefits articulated in Order No. 2000), and ordered FERC to adopt an incentive

for each utility that joins an RTO. Equally importantly, at the time of enactment of

FPA section 219, state statutes such as the Ohio statute were already on the books,

and Congress is presumed to have known about their existence when it passed

EPAct 2005.     PJM Complaint Comments at 2 (JA___) (citing Miles v. Apex

Marine Corp., 498 U.S. 19, 32 (1990) (“We assume that Congress is aware of

existing law when it passes legislation.”)). Notwithstanding this knowledge, had

Congress thought the benefits of RTO participation flow only from voluntary

membership or intended a voluntariness requirement, Congress would have said so

by using words such as “each utility” that “chooses” or “elects” (or similar

qualifying verbiage) to join an RTO. Congress did no such thing.

      Effectively, FERC is rewriting the statute to say that it is required to:

“provide for incentives to each transmitting utility or electric utility that joins a

Transmission Organization voluntarily when not required to do so by state law.”

This language appears nowhere in the statutory text. FERC cannot rewrite statutes

to embody what it might now wish Congress had said, but instead is required to

apply the statute as written by Congress. The entire statutory scheme was designed


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to recognize the continued benefits of RTO participation to customers (but not

necessarily in equal amounts to transmission owners or their shareholders) by

requiring an ongoing incentive for transmission owner participation. FERC’s new

interpretation, engrafting a voluntariness standard, ignores that RTO mandates

existed at the time section 219 was enacted and that they did not drive Congress to

codify into the law a voluntariness exception, which the Commission, on its own,

has now written into section 219. See, e.g., Dayton, dissent op. (Commissioner

Danly) at P 3 (JA____) (explaining how the Commission added the word

“voluntary,” improperly amending the statutory text).

      Because FPA section 219(c) dictates unambiguously that FERC shall

provide an incentive to each utility that joins an RTO, by imposing a condition that

does not appear in the words of the statute, FERC acted unlawfully in Dayton and

AEP and the Court should vacate those orders. 5 U.S.C. § 706(2)(C).

      B.    Neither CPUC Nor Order No. 679 Support FERC’s Findings in
            Dayton and AEP

      As noted above, FERC based its decision in Dayton on the Ninth Circuit’s

interpretation of Order No. 679 in CPUC, and doubled down by relying on Dayton

in AEP. However, neither the Ninth Circuit’s findings in CPUC nor Order No. 679

justify FERC’s refusal to grant an incentive that is unambiguously available to

Dayton and the AEP Entities under the FPA as long as they participate in PJM.




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            1.    CPUC Did Not Address—Nor Did It Claim to Address—Any
                  Statutory Requirements

      First and foremost, CPUC did not address the statutory language, as

Commissioner Danly pointed out in his dissents below.           AEP, dissent op.

(Commissioner Danly) at P 4 (JA____) (“The Court in CPUC did not interpret

section 219(c) of the [FPA]; it only interpreted and ruled on Order No. 679.”);

Dayton dissent op. (Commissioner Danly) at P 4 (JA____-JA____) (same). CPUC

contains no discussion or analysis (or even quotation) of the statutory text and

makes no attempt to reconcile the plain language of the statute with any

voluntariness requirement. Instead, CPUC’s analysis is limited to whether FERC

properly interpreted and applied its own Order No. 679 to the case at hand, and

reversed the Commission on the grounds that it had not explained its decision in

that case. See, e.g., CPUC, 879 F.3d at 973 (explaining that FERC’s action was

“arbitrary and capricious” and an “unexplained departure from longstanding

policy” because “FERC did not reasonably interpret Order 679” and “created a

generic adder in violation of the order”); id. at 979-80 (explaining why the

California Commission’s arguments were not “an impermissible collateral attack

on Order 679”).

      While CPUC does not claim to hold that voluntariness is a statutory

prerequisite to obtaining the RTO participation incentive, in Dayton and AEP,

FERC appears to extend the reach of CPUC to the statutory text, and uses that as a


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basis for its new-found policy that voluntariness is required. FERC cannot twist a

judicial remand for a better explanation of its application of its regulations to the

facts of the case into a judicial holding of statutory interpretation, particularly

when the court itself did not go that far. Indeed, CPUC did not find that FERC

violated the statute by granting an incentive to an RTO participant whose

participation was mandatory per se, as Dayton appears to suggest. Dayton at P 14

(JA____) (claiming that Order No. 679, as interpreted by CPUC requires a

voluntariness showing); id. at P 27 (JA____) (finding a voluntariness showing to

be a prerequisite “consistent with Order No. 679 and CPUC”); id. at P 28 (JA____)

(claiming that “the Ninth Circuit made clear that the voluntariness of a utility’s

membership . . . is a necessary consideration”); Dayton Rehearing at P 10

(JA____) (same). Instead, CPUC faulted FERC for not doing a better job of

adhering to Order No. 679’s requirements that FERC: (1) not provide incentives

through “summary grants,” CPUC, 879 F.3d at 973, 979; and (2) allow case-by-

case determinations, id. at 974, 977-78.

      Whether FERC correctly applied Order No. 679 or not in the administrative

proceeding leading to CPUC is irrelevant here, in light of the plain statutory text.

Regardless of the Ninth Circuit’s dicta on voluntariness, see, e.g., CPUC, 879 F.3d

at 974-75 (discussing the words “incentive” and “induce”), the plain language of

the statute mandates the establishment of a rate-based incentive for “each


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transmitting utility or electric utility that joins” an RTO—full stop. 16 U.S.C.

§ 824s(c) (emphasis added). The Ninth Circuit did not touch this language, but

instead simply remanded to FERC to provide better reasoning for its apparent

inconsistency with its own regulation. However, even if FERC had originally

imposed a voluntariness condition when it adopted Order No. 679 as CPUC

suggests, such a requirement has no grounding in the plain statutory text, and

therefore would have been unlawful.

             2.    FERC’s Use of CPUC to Read into Order No. 679 a
                   Voluntariness Requirement Years After Adoption Must Be
                   Rejected

      While FERC claims in Dayton and AEP that voluntariness is required in

light of CPUC’s interpretation of Order No. 679, e.g., Dayton at PP 14, 27-31

(JA____, JA____-JA____); AEP at P 63 (JA____), Order No. 679 and FERC’s

history implementing it does not support such a voluntariness requirement. In

Order No. 679, FERC stated that it “will approve, when justified, requests for

ROE-based incentives for public utilities that join and/or continue to be a member

of an” RTO. Order No. 679 at P 326 (emphasis added). While FERC limited its

commitment to approve incentives to situations “when justified,” nothing in the

text of the order suggests that the incentive can be justified only when participation

is voluntary. FERC also explained “[t]he basis for the incentive is a recognition of

the benefits that flow from membership in such organizations and the fact that



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continuing membership is generally voluntary,” id. at P 331 (emphasis added),

which illustrates that FERC understood that membership is sometimes mandatory,

yet the “benefits that flow from membership” do not depend on whether

membership is compulsory or voluntary. Indeed, despite rulemaking comments

that “the incentive should not apply where a transmission owner is ordered to join

a RTO/ISO by statute”, id. at P 316 (summarizing comments), FERC did not

expressly adopt such a restriction.

      Order No. 679-A likewise shows that the decision in Dayton and AEP is

lacking. In Order No. 679-A, FERC explained that the incentive “applies to all

utilities joining transmission organizations,” Order No. 679-A at P 86 (emphasis

added), should be “widely available to member utilities of Transmission

Organizations,” id., and be “effective for the entire duration of a utility’s

membership,” id. Nothing in Order No. 679 suggests a voluntariness prerequisite.

      FERC dismisses as “collateral attacks” arguments that the Ninth Circuit’s

interpretation of Order No. 679 conflicts with the plain language of FPA

section 219. Dayton Rehearing at P 18 (JA____-JA____) (stating also that the

order directing briefing “did not solicit briefing on this issue”). Whether FERC

invited briefing on this issue is of no moment. The FPA unambiguously extends

eligibility for the incentive to RTO membership—i.e., mandates that FERC shall

provide the incentive to each utility that joins—regardless of how CPUC


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interpreted Order No. 679 or how Order No. 679 interpreted section 219. Dayton

and AEP ignore Congress’s clear directive, and FERC cannot hide behind any

purported interpretations from the Ninth Circuit or its own regulations to

circumvent that directive.

III.   FERC’S ORDERS ARE ARBITRARY AND CAPRICIOUS

       In addition to being contrary to law, FERC’s orders under review are

arbitrary and capricious. The Court should not only reverse FERC’s orders on the

grounds set forth above, but also because FERC erred by reversing its policy

without sufficient explanation and acting contrary to the record in these

proceedings.

       First, after decades of awarding the RTO participation incentive without

conditioning it on voluntariness, FERC abruptly reversed course and claimed,

based solely on the CPUC remand, that a voluntariness prerequisite had always

been intended under Order No. 679. Dayton at PP 26, 30, 54-55 (JA____-JA____,

JA____, JA____); AEP at PP 61, 63 (JA____-JA____, JA____). However, that

claim does not comport with history. Indeed, as the Ninth Circuit noted, prior to

CPUC, FERC routinely granted the fifty-basis-point RTO participation incentive

without regard for voluntariness. See CPUC, 879 F.3d at 971-72 (summarizing the

history of FERC’s grant of the RTO participation incentive to Pacific Gas &

Electric Co.). Had a voluntariness requirement always been intended in Order No.



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679, FERC would not have consistently awarded the RTO participation incentive

without such a showing. Nor could it, because, as discussed above, the plain

language of the statute from which Order No. 679 derives mandates an

unconditional incentive for RTO participation. FERC’s about face in the Dayton

and AEP orders, therefore, is an unsupported and arbitrary and capricious departure

from precedent. Motor Vehicle, 463 U.S. at 43 (noting that an agency cannot rely

on factors (i.e., voluntariness) that Congress had not intended it to consider);

Michigan, 805 F.2d at 184 (noting that agencies must provide explicit and rational

justifications for departing from precedent).

      FERC’s Dayton and AEP orders are also arbitrary and capricious because

they are contrary to the record. As explained above, Order No. 2000 recognized

the myriad benefits that RTOs provide. Order No. 2000 at 31,017, 31,024-25.

PJM submitted additional evidence demonstrating nearly $4 billion worth of

annual benefits customers receive from its services, which dwarf the $156 million

that the RTO incentive costs customers. See PJM Complaint Comments at 3-4

(JA___); PJM 2021 RM20-10 Comments at 1-2, 28. PJM also explained that these

benefits accrue primarily to customers and not to transmission owners, their

shareholders, or their bottom lines. See PJM Complaint Comments at 2 (JA___);

PJM 2020 RM20-10 Comments at 6-8 (JA___-JA___); PJM 2021 RM20-10

Comments at 2-3.      PJM provided further evidence of the numerous burdens


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imposed on transmission owning members—including: relinquishing functional

control over their assets; ceding to the RTO oversight and approval of the use of

their assets, planned maintenance outages, and RTO-driven grid expansion

decisions; and increased FERC regulatory requirements related to transmission

planning and market reforms—and how Congress established the RTO

participation incentive to promote symmetry and address the mismatch between

the burdens and costs imposed on transmission owners and the benefits of RTOs,

which largely accrue instead to customers. See PJM 2020 RM20-10 Comments at

6-7 (JA___-JA___); PJM 2021 RM20-10 Comments at 3, 25-25.

      Rather than address PJM’s evidence head-on, FERC summarily “den[ied]

PJM’s motion to lodge” in Dayton claiming that PJM’s benefit evidence “is not

relevant in our determination” and deflecting to an ongoing rulemaking

proceeding. Dayton at P 13 (JA____). FERC also brushed aside PJM’s (and other

entities’) similar evidence in AEP, stating simply that it was “not persuaded.” AEP

at P 85 (JA____). Precedent demands more. FERC is required to “examine the

relevant data and articulate a satisfactory explanation for [its] actions including a

rational connection between the facts found and the choice made.” Louisville Gas

& Elec., 988 F.3d at 846 (citations omitted). Given the demonstrated RTO benefits

and their crucial link to the RTO participation incentive, FERC’s failure to

confront and discuss PJM’s countervailing evidence failed the test of reasoned


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decisionmaking. See id.; Motor Vehicle, 463 U.S. at 43; Ohio Power Co., 668 F.2d

at 885-86. By conditioning the RTO incentive on voluntariness, FERC upset the

“symmetry” the RTO participation incentive was designed to achieve.          Motor

Vehicle, 463 U.S. at 43 (stating that an agency decision is arbitrary and capricious

when it “entirely failed to consider an important aspect of the problem”).

      Finally, FERC arbitrarily and capriciously restricted eligibility for the RTO

participation incentive in contravention of its more than two decade effort and

Congress’s clear desire to promote the broadest and most stable RTO participation

possible. See Order No. 2000 at 30,993 (“Our objective is for all transmission

owning entities in the Nation . . . to place their transmission facilities under the

control of appropriate RTOs in a timely manner.” (emphasis added)). A ruling

against the RTO participation incentive, as FERC adopted in the orders below,

works to undermine membership stability and the large geographic scope of RTOs

that both Congress and FERC wanted to encourage—and from which consumers

benefit. See Order No. 2000 at 31,079-80, 31,082-83 (explaining the importance

of encouraging RTOs to have the largest possible geographic scope).

Consequently, FERC’s action goes against not only the plain meaning of the

statute and FERC’s own precedent, but works to erode the very policies that both

Congress and FERC adopted over the years to support the continued existence,

stability, and scope of RTOs. This result is contrary to law and has not been


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addressed in FERC’s orders in this case. Motor Vehicle, 463 U.S. at 43; Pendley,

601 F.3d at 426 (remanding so an agency could reexamine in light of its own

precedent).

                                     CONCLUSION

      For the foregoing reasons, the Court should grant the Transmission Owner

Petitioners’ petitions for review.


                                        Respectfully submitted,

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August 22, 2023




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         Pursuant to Rules 32(a)(5)-(7) and 32(g)(1) of the Federal Rules of

Appellate Procedure and 6 Cir. R. 32(a), the undersigned certifies that the

foregoing brief complies with the applicable type-volume limitations. The brief

was prepared using a proportionally spaced type (Times New Roman, 14 point)

and contains 6,532 words, excluding the parts of the brief exempted by FRAP 32(f)

and 6 Cir. R. 32(b)(1). This certificate was prepared in reliance on the word-count

function of the word-processing system (Microsoft Word 2016) used to prepare the

brief.



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                        CERTIFICATE OF SERVICE

      I hereby certify that on the 22nd day of August 2023, I electronically filed

the foregoing with the Clerk of the Court for the United States Court of Appeals

for the Sixth Circuit by using the CM/ECF system. All participants in the case are

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                   Addendum
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STATUTES:

Administrative Procedure Act, 5 U.S.C. § 706..................................................... A-1
Federal Power Act, section 201, 16 U.S.C. § 824 ................................................ A-2
Federal Power Act, section 219, 16 U.S.C. § 824s ............................................... A-5
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Administrative Procedure Act, 5 U.S.C. § 706

Scope of review

To the extent necessary to decision and when presented, the reviewing court shall
decide all relevant questions of law, interpret constitutional and statutory
provisions, and determine the meaning or applicability of the terms of an agency
action. The reviewing court shall—

      (1)   compel agency action unlawfully withheld or unreasonably delayed;
            and

      (2)   hold unlawful and set aside agency action, findings, and conclusions
            found to be—

            (A)    arbitrary, capricious, an abuse of discretion, or otherwise not in
                   accordance with law;

            (B)    contrary to constitutional right, power, privilege, or immunity;

            (C)    in excess of statutory jurisdiction, authority, or limitations, or
                   short of statutory right;

            (D)    without observance of procedure required by law;

            (E)    unsupported by substantial evidence in a case subject to
                   sections 556 and 557 of this title or otherwise reviewed on the
                   record of an agency hearing provided by statute; or

            (F)    unwarranted by the facts to the extent that the facts are subject
                   to trial de novo by the reviewing court.

In making the foregoing determinations, the court shall review the whole record or
those parts of it cited by a party, and due account shall be taken of the rule of
prejudicial error.




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Federal Power Act, section 201, 16 U.S.C. § 824
Declaration of policy; application of subchapter
(a) Federal regulation of transmission and sale of electric energy
It is declared that the business of transmitting and selling electric energy for ultimate
distribution to the public is affected with a public interest, and that Federal regulation
of matters relating to generation to the extent provided in this subchapter and
subchapter III of this chapter and of that part of such business which consists of the
transmission of electric energy in interstate commerce and the sale of such energy at
wholesale in interstate commerce is necessary in the public interest, such Federal
regulation, however, to extend only to those matters which are not subject to
regulation by the States.

(b)   Use or sale of electric energy in interstate commerce

      (1)    The provisions of this subchapter shall apply to the transmission of
             electric energy in interstate commerce and to the sale of electric energy
             at wholesale in interstate commerce, but except as provided in
             paragraph (2) shall not apply to any other sale of electric energy or
             deprive a State or State commission of its lawful authority now
             exercised over the exportation of hydroelectric energy which is
             transmitted across a State line. The Commission shall have jurisdiction
             over all facilities for such transmission or sale of electric energy, but
             shall not have jurisdiction, except as specifically provided in this
             subchapter and subchapter III of this chapter, over facilities used for the
             generation of electric energy or over facilities used in local distribution
             or only for the transmission of electric energy in intrastate commerce,
             or over facilities for the transmission of electric energy consumed
             wholly by the transmitter.

      (2)    Notwithstanding subsection (f), the provisions of sections 824b(a)(2),
             824e(e), 824i, 824j, 824j–1, 824k, 824o, 824o–1, 824p, 824q, 824r,
             824s, 824t, 824u, and 824v of this title shall apply to the entities
             described in such provisions, and such entities shall be subject to the
             jurisdiction of the Commission for purposes of carrying out such
             provisions and for purposes of applying the enforcement authorities of
             this chapter with respect to such provisions. Compliance with any order
             or rule of the Commission under the provisions of section 824b(a)(2),
             824e(e), 824i, 824j, 824j–1, 824k, 824o, 824o–1, 824p, 824q, 824r,
             824s, 824t, 824u, or 824v of this title, shall not make an electric utility

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             or other entity subject to the jurisdiction of the Commission for any
             purposes other than the purposes specified in the preceding sentence.

(c) Electric energy in interstate commerce
For the purpose of this subchapter, electric energy shall be held to be transmitted in
interstate commerce if transmitted from a State and consumed at any point outside
thereof; but only insofar as such transmission takes place within the United States.

(d) “Sale of electric energy at wholesale” defined
The term “sale of electric energy at wholesale” when used in this subchapter, means
a sale of electric energy to any person for resale.

(e) “Public utility” defined
The term “public utility” when used in this subchapter and subchapter III of this
chapter means any person who owns or operates facilities subject to the jurisdiction
of the Commission under this subchapter (other than facilities subject to such
jurisdiction solely by reason of section 824e(e), 824e(f),[1] 824i, 824j, 824j–1, 824k,
824o, 824o–1, 824p, 824q, 824r, 824s, 824t, 824u, or 824v of this title).

(f)    United States, State, political subdivision of a State, or agency or
instrumentality thereof exempt
No provision in this subchapter shall apply to, or be deemed to include, the United
States, a State or any political subdivision of a State, an electric cooperative that
receives financing under the Rural Electrification Act of 1936 (7 U.S.C. 901 et seq.)
or that sells less than 4,000,000 megawatt hours of electricity per year, or any
agency, authority, or instrumentality of any one or more of the foregoing, or any
corporation which is wholly owned, directly or indirectly, by any one or more of the
foregoing, or any officer, agent, or employee of any of the foregoing acting as such
in the course of his official duty, unless such provision makes specific reference
thereto.

(g) Books and records

      (1)    Upon written order of a State commission, a State commission may
             examine the books, accounts, memoranda, contracts, and records of—

             (A)    an electric utility company subject to its regulatory authority
                    under State law,

             (B)    any exempt wholesale generator selling energy at wholesale to
                    such electric utility, and
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      (C)   any electric utility company, or holding company thereof, which
            is an associate company or affiliate of an exempt wholesale
            generator which sells electric energy to an electric utility
            company referred to in subparagraph (A), wherever located, if
            such examination is required for the effective discharge of the
            State commission’s regulatory responsibilities affecting the
            provision of electric service.

(2)   Where a State commission issues an order pursuant to paragraph (1),
      the State commission shall not publicly disclose trade secrets or
      sensitive commercial information.

(3)   Any United States district court located in the State in which the State
      commission referred to in paragraph (1) is located shall have
      jurisdiction to enforce compliance with this subsection.

(4)   Nothing in this section shall—

      (A)   preempt applicable State law concerning the provision of records
            and other information; or

      (B)   in any way limit rights to obtain records and other information
            under Federal law, contracts, or otherwise.

(5)   As used in this subsection the terms “affiliate”, “associate company”,
      “electric utility company”, “holding company”, “subsidiary company”,
      and “exempt wholesale generator” shall have the same meaning as
      when used in the Public Utility Holding Company Act of 2005 [42
      U.S.C. 16451 et seq.].




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Federal Power Act, section 219, 16 U.S.C. § 824s
Transmission infrastructure investment
(a) Rulemaking requirement
Not later than 1 year after August 8, 2005, the Commission shall establish, by rule,
incentive-based (including performance-based) rate treatments for the transmission
of electric energy in interstate commerce by public utilities for the purpose of
benefitting consumers by ensuring reliability and reducing the cost of delivered
power by reducing transmission congestion.

(b)   Contents

      The rule shall—

      (1)    promote reliable and economically efficient transmission and
             generation of electricity by promoting capital investment in the
             enlargement, improvement, maintenance, and operation of all facilities
             for the transmission of electric energy in interstate commerce,
             regardless of the ownership of the facilities;

      (2)    provide a return on equity that attracts new investment in transmission
             facilities (including related transmission technologies);

      (3)    encourage deployment of transmission technologies and other
             measures to increase the capacity and efficiency of existing
             transmission facilities and improve the operation of the facilities; and

      (4)    allow recovery of—

             (A)    all prudently incurred costs necessary to comply with mandatory
                    reliability standards issued pursuant to section 824o of this title;
                    and

             (B)    all prudently incurred costs related to transmission infrastructure
                    development pursuant to section 824p of this title.

(c) Incentives
In the rule issued under this section, the Commission shall, to the extent within its
jurisdiction, provide for incentives to each transmitting utility or electric utility that
joins a Transmission Organization. The Commission shall ensure that any costs
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recoverable pursuant to this subsection may be recovered by such utility through the
transmission rates charged by such utility or through the transmission rates charged
by the Transmission Organization that provides transmission service to such utility.

(d) Just and reasonable rates
All rates approved under the rules adopted pursuant to this section, including any
revisions to the rules, are subject to the requirements of sections 824d and 824e of
this title that all rates, charges, terms, and conditions be just and reasonable and not
unduly discriminatory or preferential.




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